                  Case 1:15-bk-11016                              Doc 1          Filed 05/14/15 Entered 05/14/15 15:02:02                                                   Desc Main
B1 (Official Form 1)(04/13)
                                                                                 Document     Page 1 of 65
                                                  United States Bankruptcy Court
                                                              District of Rhode Island                                                                              Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                  Name of Joint Debtor (Spouse) (Last, First, Middle):
  Dicksen, William B.                                                                                           Dicksen, Dolores V.


All Other Names used by the Debtor in the last 8 years                                                       All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                  (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                                Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                                (if more than one, state all)
  xxx-xx-6670                                                                                                   xxx-xx-9529
Street Address of Debtor (No. and Street, City, and State):                                                  Street Address of Joint Debtor (No. and Street, City, and State):
  17 Countryside Dr.                                                                                           17 Countryside Dr.
  Johnston, RI                                                                                                 Johnston, RI
                                                                                            ZIP Code                                                                                        ZIP Code
                                                                                          02919                                                                                         02919
County of Residence or of the Principal Place of Business:                                                   County of Residence or of the Principal Place of Business:
  Providence                                                                                                    Providence
Mailing Address of Debtor (if different from street address):                                                Mailing Address of Joint Debtor (if different from street address):


                                                                                            ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                        Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                                (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                             Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                           Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                             Chapter 9
     Corporation (includes LLC and LLP)                              in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                             Chapter 11
     Partnership                                                     Railroad
                                                                                                                             Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,              Stockbroker
                                                                                                                             Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                 Commodity Broker
                                                                     Clearing Bank
                                                                     Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                            Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                           (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                     Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                        under Title 26 of the United States                    "incurred by an individual primarily for
                                                                     Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                     Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                       Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                    Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must              Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                    Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                    are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                               Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                   A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                    Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                    in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                     THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-        1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999         5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001    $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1       to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million     million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001    $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1       to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million     million      million        million       million
             Case 1:15-bk-11016                    Doc 1        Filed 05/14/15 Entered 05/14/15 15:02:02                                          Desc Main
B1 (Official Form 1)(04/13)
                                                                Document     Page 2 of 65                                                                                  Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Dicksen, William B.
(This page must be completed and filed in every case)                                  Dicksen, Dolores V.
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ T. Michael Banks                                       May 14, 2015
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             T. Michael Banks 8152

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(04/13)
                                                                   Document     Page 3 of 65                                                                            Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Dicksen, William B.
(This page must be completed and filed in every case)                                       Dicksen, Dolores V.
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ William B. Dicksen                                                               X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor William B. Dicksen

 X    /s/ Dolores V. Dicksen                                                                   Printed Name of Foreign Representative
     Signature of Joint Debtor Dolores V. Dicksen
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     May 14, 2015
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ T. Michael Banks
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      T. Michael Banks 8152                                                                    debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Law office of Stephen S. Germani
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      931 Jefferson Blvd
      Suite 2006                                                                               Social-Security number (If the bankrutpcy petition preparer is not
      Warwick, RI 02886                                                                        an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                  T.MichaelBanks@germanilawoffices.com
      401-739-9700 Fax: 401-739-3399
     Telephone Number
     May 14, 2015
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                       District of Rhode Island
            William B. Dicksen
 In re      Dolores V. Dicksen                                                                    Case No.
                                                                                 Debtor(s)        Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                               Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
       deficiency so as to be incapable of realizing and making rational decisions with respect to financial
       responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:         /s/ William B. Dicksen
                                                                                    William B. Dicksen
                                                       Date:         May 14, 2015




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B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                       District of Rhode Island
            William B. Dicksen
 In re      Dolores V. Dicksen                                                                    Case No.
                                                                                 Debtor(s)        Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                               Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
       deficiency so as to be incapable of realizing and making rational decisions with respect to financial
       responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:         /s/ Dolores V. Dicksen
                                                                                    Dolores V. Dicksen
                                                       Date:         May 14, 2015




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B6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                                       District of Rhode Island
  In re          William B. Dicksen,                                                                         Case No.
                 Dolores V. Dicksen
                                                                                                       ,
                                                                                      Debtors                Chapter                      7




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED          NO. OF          ASSETS                LIABILITIES                OTHER
                                                         (YES/NO)         SHEETS

A - Real Property                                              Yes           1                  160,200.00


B - Personal Property                                          Yes           5                  142,195.69


C - Property Claimed as Exempt                                 Yes           2


D - Creditors Holding Secured Claims                           Yes           2                                         262,135.00


E - Creditors Holding Unsecured                                Yes           2                                          27,450.47
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes           3                                          43,937.00
    Nonpriority Claims

G - Executory Contracts and                                    Yes           1
   Unexpired Leases

H - Codebtors                                                  Yes           1


I - Current Income of Individual                               Yes           2                                                                     5,601.22
    Debtor(s)

J - Current Expenditures of Individual                         Yes           3                                                                     6,371.92
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                   22


                                                                       Total Assets             302,395.69


                                                                                        Total Liabilities              333,522.47




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B 6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                                       District of Rhode Island
  In re           William B. Dicksen,                                                                                 Case No.
                  Dolores V. Dicksen
                                                                                                           ,
                                                                                        Debtors                       Chapter               7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                   Amount

              Domestic Support Obligations (from Schedule E)                                                       0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                           27,450.47

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                   0.00

              Student Loan Obligations (from Schedule F)                                                           0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                   0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                   0.00

                                                                             TOTAL                         27,450.47


              State the following:

              Average Income (from Schedule I, Line 12)                                                        5,601.22

              Average Expenses (from Schedule J, Line 22)                                                      6,371.92

              Current Monthly Income (from Form 22A-1 Line 11; OR,
              Form 22B Line 14; OR, Form 22C-1 Line 14 )                                                       6,761.44


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                 56,002.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                           27,450.47

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                          0.00

              4. Total from Schedule F                                                                                           43,937.00

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       99,939.00




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  In re         William B. Dicksen,                                                                               Case No.
                Dolores V. Dicksen
                                                                                                      ,
                                                                                      Debtors
                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                    Husband,    Current Value of
                                                                            Nature of Debtor's       Wife,     Debtor's Interest in             Amount of
                Description and Location of Property                        Interest in Property     Joint, or  Property, without              Secured Claim
                                                                                                   Community Deducting  any Secured
                                                                                                               Claim or Exemption

Two-bedroom house located at 17 Countryside                                 Tenants by the entirety       J                  160,200.00               210,267.00
Drive, Johnston, RI 02919, appraised by the
Johnston tax assessor at $160,200.




                                                                                                      Sub-Total >            160,200.00       (Total of this page)

                                                                                                              Total >        160,200.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                      (Report also on Summary of Schedules)
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  In re         William B. Dicksen,                                                                                Case No.
                Dolores V. Dicksen
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

1.    Cash on hand                                            Cash in personal possession.                                    J                              9.00

2.    Checking, savings or other financial                    Checking account, Citizens Bank, 1 Citizens Dr.,                J                              0.50
      accounts, certificates of deposit, or                   Riverside, RI 02915, account number ending in
      shares in banks, savings and loan,                      2161.
      thrift, building and loan, and
      homestead associations, or credit                       Checking account, Navigant Credit Union, 1005                   J                           412.33
      unions, brokerage houses, or                            Douglas Pike, Smithfield, RI 02917, account number
      cooperatives.                                           ending in 2683.

                                                              Statement Share account, Navigant Credit Union,                 J                        1,109.00
                                                              1005 Douglas Pike, Smithfield, RI 02917, account
                                                              number ending in 2674.

                                                              Business checking account, Santander Bank, 1414                 H                            64.93
                                                              Atwood Ave., Johnston, RI 02919, account number
                                                              ending in 1524.

                                                              Business savings account, Santander Bank, 1414                  H                            36.28
                                                              Atwood Ave., Johnston, RI 02919, account number
                                                              ending in 5796.

                                                              Checking account, Citizens Bank, 1 Citizens Dr.,                W                              4.45
                                                              Riverside, RI 02915, account number ending in
                                                              6763.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.




                                                                                                                              Sub-Total >            1,636.49
                                                                                                                  (Total of this page)

  4     continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         William B. Dicksen,                                                                                Case No.
                Dolores V. Dicksen
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

4.    Household goods and furnishings,                        Living Room: two couches, desk, two chairs, three               J                        5,900.00
      including audio, video, and                             end tables, lapm, TV, stereo, DVD player, TV stand,
      computer equipment.                                     storage cabinet ($1540); Bedrooms: two beds and
                                                              bedding, two dressers, chest of drawers, three
                                                              mirrors, two lamps ($930); Kitchen: table and four
                                                              chairs, microwave oven, toaster, refrigerator,
                                                              washing machine and dryer, stove, everyday
                                                              dishes, tableware, cookware, and utensils ($1265);
                                                              Other Rooms: three computers, stereo, chair,
                                                              sewing machine, vacuum cleaner, iron, digital
                                                              camera, two portable air conditioners, various hand
                                                              tools and power tools, lawn mower, and two
                                                              mirrors ($2165).

                                                              Personal and work clothing and shoes for both                   J                        3,000.00

5.    Books, pictures and other art                       X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    X

7.    Furs and jewelry.                                       14K gold, 1 cttw. diamond engagement ring ($500),               W                        1,000.00
                                                              14K gold, 1/3 cttw. diamond wedding band ($450),
                                                              costume jewelry ($50).

                                                              Mens 14K gold wedding band.                                     H                           160.00

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)




                                                                                                                              Sub-Total >          10,060.00
                                                                                                                  (Total of this page)

Sheet 1 of 4          continuation sheets attached
to the Schedule of Personal Property

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  In re         William B. Dicksen,                                                                                Case No.
                Dolores V. Dicksen
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

12. Interests in IRA, ERISA, Keogh, or                        IRA account, managed by Merrill EDGE Advisory                   W                        4,645.26
    other pension or profit sharing                           Center, NJ2-140-02-17, P.O. Box 1501, Pennington,
    plans. Give particulars.                                  NJ 08534, account number ending in 6E80.

                                                              401(k) account with employer, Tiffany & Co., 200                H                        8,050.23
                                                              Fifth Ave., New York, NY 10010, account number
                                                              ending in 2384, balance as of March 31, 2015 of
                                                              $8,050.23.

                                                              401(k) from previous employer (CVS/Caremark),                   W                      57,962.49
                                                              managed by Future Fund Online, account number
                                                              ending in 6212, balance as of May 12, 2015 of
                                                              $57962.49.

13. Stock and interests in incorporated                       Employer Stock Purchase Plan, managed by                        H                           548.22
    and unincorporated businesses.                            Computershare Trust Company, N.A., P.O. Box
    Itemize.                                                  30170, College Station, TX 77842, account number
                                                              ending in 9046, balance as of April 10, 2015 of
                                                              $548.22.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                              Sub-Total >          71,206.20
                                                                                                                  (Total of this page)

Sheet 2 of 4          continuation sheets attached
to the Schedule of Personal Property

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  In re         William B. Dicksen,                                                                                Case No.
                Dolores V. Dicksen
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2008 Ford Ranger pickup, automatic transmission,                H                        5,451.00
    other vehicles and accessories.                           77,000 miles, located at Debtor's residence.

                                                              2012 Kia Rio 5-door hatchback, automatic                        W                        7,900.00
                                                              transmission, 57,000 miles, located at Joint
                                                              Debtor's residence.

                                                              1994 Toyota Corolla DX 4-door sedan, automatic                  W                           932.00
                                                              transmission, 226,000 miles, located at Joint
                                                              Debtor's residence.

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                                  One dog.                                                        J                            10.00

32. Crops - growing or harvested. Give                    X
    particulars.


                                                                                                                              Sub-Total >          14,293.00
                                                                                                                  (Total of this page)

Sheet 3 of 4          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         William B. Dicksen,                                                                                Case No.
                Dolores V. Dicksen
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                       Debtor is entitled to receive a payment of $1,000.00             H                     45,000.00
    not already listed. Itemize.                              per month for 60 months starting on January 1,
                                                              2014 as a result of the sale of his share of Overflow
                                                              Machine, LLC of 88 Production Road, Walpole, MA
                                                              02081 to Ronald Bower of 18 Neponset Avenue,
                                                              Hyde Park, MA 02136. A total of $15,000.00 has
                                                              been paid as of May 1, 2015, leaving $45,000.00 yet
                                                              to be paid as of the petition date.




                                                                                                                              Sub-Total >          45,000.00
                                                                                                                  (Total of this page)
                                                                                                                                   Total >       142,195.69
Sheet 4 of 4          continuation sheets attached
to the Schedule of Personal Property                                                                                          (Report also on Summary of Schedules)
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   In re         William B. Dicksen,                                                                                   Case No.
                 Dolores V. Dicksen
                                                                                                           ,
                                                                                        Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                         Value of                 Current Value of
                   Description of Property                                         Each Exemption                             Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Real Property
Two-bedroom house located at 17 Countryside                               11 U.S.C. § 522(d)(1)                                        100.00                     160,200.00
Drive, Johnston, RI 02919, appraised by the
Johnston tax assessor at $160,200.

Cash on Hand
Cash in personal possession.                                              11 U.S.C. § 522(d)(5)                                            9.00                             9.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking account, Citizens Bank, 1 Citizens Dr.,  11 U.S.C. § 522(d)(5)                                                                    0.50                             0.50
Riverside, RI 02915, account number ending in
2161.

Checking account, Navigant Credit Union, 1005                             11 U.S.C. § 522(d)(5)                                        412.33                           412.33
Douglas Pike, Smithfield, RI 02917, account
number ending in 2683.

Statement Share account, Navigant Credit                                  11 U.S.C. § 522(d)(5)                                      1,109.00                         1,109.00
Union, 1005 Douglas Pike, Smithfield, RI 02917,
account number ending in 2674.

Business checking account, Santander Bank,                                11 U.S.C. § 522(d)(5)                                          64.93                            64.93
1414 Atwood Ave., Johnston, RI 02919, account
number ending in 1524.

Business savings account, Santander Bank,                                 11 U.S.C. § 522(d)(5)                                          36.28                            36.28
1414 Atwood Ave., Johnston, RI 02919, account
number ending in 5796.

Checking account, Citizens Bank, 1 Citizens Dr.,                          11 U.S.C. § 522(d)(5)                                            4.45                             4.45
Riverside, RI 02915, account number ending in
6763.

Household Goods and Furnishings
Living Room: two couches, desk, two chairs,                               11 U.S.C. § 522(d)(3)                                      5,900.00                         5,900.00
three end tables, lapm, TV, stereo, DVD player,
TV stand, storage cabinet ($1540); Bedrooms:
two beds and bedding, two dressers, chest of
drawers, three mirrors, two lamps ($930);
Kitchen: table and four chairs, microwave oven,
toaster, refrigerator, washing machine and
dryer, stove, everyday dishes, tableware,
cookware, and utensils ($1265); Other Rooms:
three computers, stereo, chair, sewing
machine, vacuum cleaner, iron, digital camera,
two portable air conditioners, various hand
tools and power tools, lawn mower, and two
mirrors ($2165).

Personal and work clothing and shoes for both                             11 U.S.C. § 522(d)(3)                                      3,000.00                         3,000.00




    1      continuation sheets attached to Schedule of Property Claimed as Exempt
 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
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 B6C (Official Form 6C) (4/13) -- Cont.




   In re         William B. Dicksen,                                                                         Case No.
                 Dolores V. Dicksen
                                                                                                        ,
                                                                                         Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                (Continuation Sheet)

                                                                                Specify Law Providing            Value of             Current Value of
                   Description of Property                                         Each Exemption                Claimed              Property Without
                                                                                                                Exemption           Deducting Exemption

Furs and Jewelry
14K gold, 1 cttw. diamond engagement ring                                 11 U.S.C. § 522(d)(4)                         1,000.00                1,000.00
($500), 14K gold, 1/3 cttw. diamond wedding
band ($450), costume jewelry ($50).

Mens 14K gold wedding band.                                               11 U.S.C. § 522(d)(4)                          160.00                    160.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
IRA account, managed by Merrill EDGE                11 U.S.C. § 522(d)(12)                                              4,645.26                4,645.26
Advisory Center, NJ2-140-02-17, P.O. Box 1501,
Pennington, NJ 08534, account number ending
in 6E80.

401(k) account with employer, Tiffany & Co., 200                          11 U.S.C. § 522(d)(12)                        8,050.23                8,050.23
Fifth Ave., New York, NY 10010, account
number ending in 2384, balance as of March 31,
2015 of $8,050.23.

401(k) from previous employer (CVS/Caremark),                             11 U.S.C. § 522(d)(12)                    57,962.49                  57,962.49
managed by Future Fund Online, account
number ending in 6212, balance as of May 12,
2015 of $57962.49.

Stock and Interests in Businesses
Employer Stock Purchase Plan, managed by                                  11 U.S.C. § 522(d)(5)                          548.22                    548.22
Computershare Trust Company, N.A., P.O. Box
30170, College Station, TX 77842, account
number ending in 9046, balance as of April 10,
2015 of $548.22.

Automobiles, Trucks, Trailers, and Other Vehicles
2008 Ford Ranger pickup, automatic                                        11 U.S.C. § 522(d)(2)                          100.00                 5,451.00
transmission, 77,000 miles, located at Debtor's
residence.

2012 Kia Rio 5-door hatchback, automatic                                  11 U.S.C. § 522(d)(5)                          100.00                 7,900.00
transmission, 57,000 miles, located at Joint
Debtor's residence.

1994 Toyota Corolla DX 4-door sedan,                                      11 U.S.C. § 522(d)(2)                          932.00                    932.00
automatic transmission, 226,000 miles, located
at Joint Debtor's residence.

Other Personal Property of Any Kind Not Already Listed
Debtor is entitled to receive a payment of        11 U.S.C. § 522(d)(5)                                             11,310.15                  45,000.00
$1,000.00 per month for 60 months starting on
January 1, 2014 as a result of the sale of his
share of Overflow Machine, LLC of 88
Production Road, Walpole, MA 02081 to Ronald
Bower of 18 Neponset Avenue, Hyde Park, MA
02136. A total of $15,000.00 has been paid as of
May 1, 2015, leaving $45,000.00 yet to be paid as
of the petition date.



                                                                                                    Total:          95,444.84                302,385.69
 Sheet      1     of    1     continuation sheets attached to the Schedule of Property Claimed as Exempt
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   In re         William B. Dicksen,                                                                                           Case No.
                 Dolores V. Dicksen
                                                                                                                  ,
                                                                                                  Debtors
                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                             O    N   I
                                                             D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                             T    I   P       WITHOUT          UNSECURED
            INCLUDING ZIP CODE,                              B   W           NATURE OF LIEN, AND                           I    Q   U                        PORTION, IF
                                                             T   J         DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                           DEDUCTING
           AND ACCOUNT NUMBER                                O                                                             G    I   E       VALUE OF            ANY
             (See instructions above.)
                                                                 C                OF PROPERTY
                                                             R
                                                                               SUBJECT TO LIEN
                                                                                                                           E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No. xxxxx8729                                                Opened 9/01/05 Last Active 12/27/14                        E
                                                                                                                                D
                                                                     Second Mortgage
Citizens Bank
                                                                   Two-bedroom house located at 17
1 Citizens Dr.
                                                                   Countryside Drive, Johnston, RI 02919,
Attn: Bankruptcy Department
                                                                 J appraised by the Johnston tax assessor
Riverside, RI 02915                                                at $160,200.
                                                                        Value $                         160,200.00                           82,687.00             50,067.00
Account No. xxxxxxxxx0001                                            Opened 12/01/11 Last Active 4/15/15

Eastern Bank                                                         Purchase Money Security
Attn: Collections Dept.
                                                                   2012 Kia Rio 5-door hatchback,
195 Market Street
                                                                 W automatic transmission, 57,000 miles,
Lynn, MA 01901                                                     located at Joint Debtor's residence.
                                                                        Value $                             7,900.00                         10,467.00               2,567.00
Account No. xxxxxxxxx0001                                            Opened 11/01/13 Last Active 4/06/15

Eastern Bank                                                         Purchase Money Security
Attn: Collections Dept.
                                                                   2008 Ford Ranger pickup, automatic
195 Market Street
                                                                 H transmission, 77,000 miles, located at
Lynn, MA 01901                                                     Debtor's residence.
                                                                        Value $                             5,451.00                          8,819.00               3,368.00
Account No. xxx-xxxxxx5-001                                          2012

Intech Funding Corp.                                                 Leashold
P.O. Box 750
Attn: Bankruptcy Department                                          Industrial lathe.
                                                            X H
Albany, MN 56307

                                                                        Value $                             Unknown                          Unknown               Unknown
                                                                                                                        Subtotal
 1
_____ continuation sheets attached                                                                                                          101,973.00             56,002.00
                                                                                                               (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re         William B. Dicksen,                                                                                           Case No.
                 Dolores V. Dicksen
                                                                                                                  ,
                                                                                                  Debtors

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                             O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                             T    I   P       WITHOUT        UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                        PORTION, IF
            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
                                                                                                                           I    Q   U
                                                                                                                                           DEDUCTING
                                                             T   J                                                         N    U   T                         ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                            G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No. N/A                                                      Unknown                                                    E
                                                                                                                                D

John Disangro                                                        Leasehold
35 Production Rd.
Attn: Bankruptcy Department                                     Premises at 88 Production Road,
                                                            X H Walpole, MA 02081.
Walpole, MA 02081

                                                                        Value $                             Unknown                          Unknown             Unknown
Account No. xxxxxxxxx1898                                            Opened 4/01/03 Last Active 1/12/15
                                                                     First Mortgage
PNC Mortgage
                                                                   Two-bedroom house located at 17
P.O. Box 8703
                                                                   Countryside Drive, Johnston, RI 02919,
Attn: Bankruptcy Department
                                                                 H appraised by the Johnston tax assessor
Dayton, OH 45401                                                   at $160,200.
                                                                        Value $                         160,200.00                          127,580.00                   0.00
Account No. xx3213                                                   2010

United Financial Group, Inc.                                         Leasehold
1133 Louisiana Ave., Ste. 200
Attn: Bankruptcy Department                                          Industrial machining equipment.
                                                            X H
Maitland, FL 32794

                                                                        Value $                             Unknown                          32,582.00           Unknown
Account No.




                                                                        Value $
Account No.




                                                                        Value $
       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                   Subtotal
                                                                                                                                            160,162.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                   (Total of this page)
                                                                                                                          Total             262,135.00           56,002.00
                                                                                                (Report on Summary of Schedules)

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  In re         William B. Dicksen,                                                                                                Case No.
                Dolores V. Dicksen
                                                                                                                      ,
                                                                                                Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             1         continuation sheets attached
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   In re         William B. Dicksen,                                                                                          Case No.
                 Dolores V. Dicksen
                                                                                                                 ,
                                                                                                  Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                          Taxes and Certain Other Debts
                                                                                                                           Owed to Governmental Units
                                                                                                                                       TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                O                                                            O    N   I                      AMOUNT NOT
                                                             D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                          OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                        N    U   T                                AMOUNT
                                                             O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                        E    D   D
                                                                                                                          N    A
                                                                                                                                                                    PRIORITY
                                                                                                                          T    T
Account No. xxxxx6670                                                10/15/2012                                                E
                                                                                                                               D

Internal Revenue Service                                             Federal Income Tax Liability
P.O. Box 7346                                                                                                                                             0.00
Centralized Insolvency Operatn
                                                                 J
Philadelphia, PA 19101-7346

                                                                                                                                             24,705.76            24,705.76
Account No. xxxxxx6700                                               04/15/2013

Massachusetts Dept. of Revenue                                       State Income Tax Liability
P.O. Box 9564                                                                                                                                             0.00
Attn: Bankruptcy Unit
                                                                 J
Boston, MA 02114-9564

                                                                                                                                              2,744.71              2,744.71
Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                  Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                       (Total of this page)           27,450.47            27,450.47
                                                                                                                          Total                           0.00
                                                                                                (Report on Summary of Schedules)             27,450.47            27,450.47

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   In re         William B. Dicksen,                                                                                     Case No.
                 Dolores V. Dicksen
                                                                                                                 ,
                                                                                               Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U    D
                   CREDITOR'S NAME,                                     O                                                                   O   N    I
                   MAILING ADDRESS                                      D   H                                                               N   L    S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I    P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q    U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                        T   J                                                               N   U    T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I    E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D    D
                                                                                                                                            N   A
Account No. xxxxxxxxxxxx9037                                                    Opened 4/01/04 Last Active 3/14/15                          T   T
                                                                                                                                                E
                                                                                Credit Card                                                     D

Bank Of America
4161 Peidmont Pkwy.                                                         H
Attn: Bankruptcy Department
Greensboro, NC 27410
                                                                                                                                                                       5,104.00
Account No. xxxxxxxxxxxx8910                                                    Opened 4/01/05 Last Active 4/08/15
                                                                                Credit Card
Bank Of America
4161 Peidmont Pkwy.                                                         W
Attn: Bankruptcy Department
Greensboro, NC 27410
                                                                                                                                                                       4,707.00
Account No. xxxxxxxxxxxx6391                                                    Opened 8/01/11 Last Active 3/16/15
                                                                                Check Credit Or Line Of Credit
BBVA Compass Bank
P.O. Box 10566                                                              H
Attn: Bankruptcy Department
Birmingham, AL 35296
                                                                                                                                                                       4,637.00
Account No. xxxxxxxxxxxx2891                                                    Opened 4/01/04 Last Active 4/07/15
                                                                                Credit Card
Chase Card
P.O. Box 15298                                                              H
Attn: Bankruptcy Department
Wilmington, DE 19850
                                                                                                                                                                       3,178.00

                                                                                                                                        Subtotal
 2
_____ continuation sheets attached                                                                                                                                   17,626.00
                                                                                                                              (Total of this page)




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   In re         William B. Dicksen,                                                                                 Case No.
                 Dolores V. Dicksen
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U    D
                   CREDITOR'S NAME,                                     O                                                           O   N    I
                   MAILING ADDRESS                                      D   H                                                       N   L    S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I    P
                                                                        B                                                           I   Q    U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U    T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I    E
                  (See instructions above.)                             R                                                           E   D    D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxx7525                                                    Opened 10/01/13 Last Active 4/27/15                     E
                                                                                Credit Card                                             D

Citibank SD, N.A.
P.O. Box 20363                                                              W
Attn: Bankruptcy Department
Kansas City, MO 64195
                                                                                                                                                             4,553.00
Account No. xxxxxxxxxxxx2851                                                    Opened 10/01/13 Last Active 4/08/15
                                                                                Credit Card
Citibank SD, N.A.
P.O. Box 20363                                                              W
Attn: Bankruptcy Department
Kansas City, MO 64195
                                                                                                                                                             1,165.00
Account No. xxxxxxxxxxxx6418                                                    Opened 1/01/96 Last Active 3/15/15
                                                                                Credit Card
Exxon/Mobil Citibank
P.O. Box 20363                                                              H
Attn: Bankruptcy Department
Kansas City, MO 64195
                                                                                                                                                             2,080.00
Account No. xxxxxxx0303                                                         07/22/2014
                                                                                Unsecured debt.
Landmark Medical Center
196 Cass Ave.                                                               H
Attn: Bankruptcy Department
Woonsocket, RI 02895
                                                                                                                                                             1,010.00
Account No. xx2908                                                              08/01/2014
                                                                                Unsecured debt.
Manuel M. Cunanan, DMD Inc.
3411 W. Shore Rd.                                                           J
Attn: Bankruptcy Department
Warwick, RI 02886
                                                                                                                                                             3,636.00

           1
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                           12,444.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         William B. Dicksen,                                                                                       Case No.
                 Dolores V. Dicksen
                                                                                                                  ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U    D
                   CREDITOR'S NAME,                                     O                                                                  O   N    I
                   MAILING ADDRESS                                      D   H                                                              N   L    S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                        T   I    P
                                                                        B                                                                  I   Q    U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U    T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I    E
                  (See instructions above.)                             R                                                                  E   D    D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. xxxxxxxxxxxx7435                                                    Opened 2/01/06 Last Active 4/27/15                             E
                                                                                Credit Card                                                    D

RBS Citizens Credit Card
443 Jefferson Blvd. MS RJW-135                                              H
Attn: Bankruptcy Department
Warwick, RI 02886
                                                                                                                                                                    8,288.00
Account No. xxxxxxxxxxxx0189                                                    Opened 2/01/14 Last Active 3/20/15
                                                                                Credit Card
RBS Citizens Credit Card
443 Jefferson Blvd. MS RJW-135                                              H
Attn: Bankruptcy Department
Warwick, RI 02886
                                                                                                                                                                    5,579.00
Account No.




Account No.




Account No.




           2
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                  13,867.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)                 43,937.00


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  In re             William B. Dicksen,                                                                         Case No.
                    Dolores V. Dicksen
                                                                                                      ,
                                                                                    Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.

                     Intech Funding Corp.                                                Lessor is Intech Funding Corp., Lessees are
                     P.O. Box 750                                                        Debtor and Ron Bower (Debtor's former business
                     Attn: Bankruptcy Department                                         partner), 88 Production Road, Walpole, MA 02081.
                     Albany, MN 56307                                                    Lease is for an industrial lathe.

                     John Disangro                                                       Lease for work premises of Overflow Machine,
                     35 Production Rd.                                                   LLC. Lessor is John Disangro, lessees are Debtor
                     Attn: Bankruptcy Department                                         and Ron Bower (Debtor's former business
                     Walpole, MA 02081                                                   partner), 88 Production Road, Walpole, MA 02081.

                     United Financial Group, Inc.                                        Lessor is United Financial Group, Inc. Lessees
                     1133 Louisiana Ave., Ste. 200                                       are Debtor and Ron Bower (Debtor's former
                     Attn: Bankruptcy Department                                         business partner), 88 Production Road, Walpole,
                     Maitland, FL 32794                                                  MA 02081. Lease is for industrial machining
                                                                                         equipment, Lease No. 103213, balance is
                                                                                         $32,582.00.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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  In re          William B. Dicksen,                                                                     Case No.
                 Dolores V. Dicksen
                                                                                                 ,
                                                                                   Debtors
                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                        NAME AND ADDRESS OF CREDITOR

                  Ronald Bower                                                        Intech Funding Corp.
                  88 Production Rd.                                                   P.O. Box 750
                  Attn: Bankruptcy Department                                         Attn: Bankruptcy Department
                  Walpole, MA 02081                                                   Albany, MN 56307
                    Debtor's former business partner.

                  Ronald Bower                                                        United Financial Group, Inc.
                  88 Production Rd.                                                   1133 Louisiana Ave., Ste. 200
                  Attn: Bankruptcy Department                                         Attn: Bankruptcy Department
                  Walpole, MA 02081                                                   Maitland, FL 32794
                    Debtor's former business partner.

                  Ronald Bower                                                        John Disangro
                  88 Production Rd.                                                   35 Production Rd.
                  Attn: Bankruptcy Department                                         Attn: Bankruptcy Department
                  Walpole, MA 02081                                                   Walpole, MA 02081
                    Debtor's former business partner.




       0
               continuation sheets attached to Schedule of Codebtors
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Fill in this information to identify your case:

Debtor 1                      William B. Dicksen

Debtor 2                      Dolores V. Dicksen
(Spouse, if filing)


United States Bankruptcy Court for the:       DISTRICT OF RHODE ISLAND

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing post-petition chapter
                                                                                                            13 income as of the following date:

Official Form B 6I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                           12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Machinist
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Tiffany and Company

       Occupation may include student        Employer's address
                                                                   15 Sylvan Way
       or homemaker, if it applies.
                                                                   Parsippany, NJ 07054

                                             How long employed there?         1 year, 2 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $        4,047.85     $             0.00

3.     Estimate and list monthly overtime pay.                                             3.     +$             0.00    +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $      4,047.85           $       0.00




Official Form B 6I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1    William B. Dicksen
Debtor 2    Dolores V. Dicksen                                                                    Case number (if known)



                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $         4,047.85      $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.     $           627.99      $                0.00
      5b.    Mandatory contributions for retirement plans                                  5b.     $             0.00      $                0.00
      5c.    Voluntary contributions for retirement plans                                  5c.     $           367.16      $                0.00
      5d.    Required repayments of retirement fund loans                                  5d.     $             0.00      $                0.00
      5e.    Insurance                                                                     5e.     $           423.15      $                0.00
      5f.    Domestic support obligations                                                  5f.     $             0.00      $                0.00
      5g.    Union dues                                                                    5g.     $             0.00      $                0.00
      5h.    Other deductions. Specify:                                                    5h.+    $             0.00 +    $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,418.30      $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,629.55      $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.     $              0.00     $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $            0.00
      8d. Unemployment compensation                                                        8d.     $              0.00     $        1,971.67
      8e. Social Security                                                                  8e.     $              0.00     $            0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.     $              0.00     $                0.00
      8g. Pension or retirement income                                                     8g.     $              0.00     $                0.00
                                               Installment payments for sale of
      8h.    Other monthly income. Specify: business                                       8h.+ $            1,000.00 + $                   0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,000.00      $           1,971.67

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           3,629.55 + $        1,971.67 = $            5,601.22
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $          5,601.22
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Joint Debtor's unemployment compensation will terminate in August 2015. At that time net
                             household income will decrease by $1,971.67. Debtor's employment will end on May 22, 2015.
                             Debtor is actively seeking new employment, but has no job offers as of the petition date.




Official Form B 6I                                                    Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                 William B. Dicksen                                                                 Check if this is:
                                                                                                                An amended filing
Debtor 2                 Dolores V. Dicksen                                                                     A supplement showing post-petition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF RHODE ISLAND                                                   MM / DD / YYYY

Case number                                                                                                          A separate filing for Debtor 2 because Debtor
(If known)                                                                                                           2 maintains a separate household



Official Form B 6J
Schedule J: Your Expenses                                                                                                            12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s        Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age                live with you?
      Do not state the                                                                                                                        No
      dependents' names.                                                                                                                      Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 6I.)                                                                                                          Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,374.95

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                              100.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                              200.00




Official Form B 6J                                                   Schedule J: Your Expenses                                                   page 1
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Debtor 1    William B. Dicksen
Debtor 2    Dolores V. Dicksen                                                        Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                  400.00
      6b. Water, sewer, garbage collection                                                  6b. $                    0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                  368.72
      6d. Other. Specify:                                                                   6d. $                    0.00
7.    Food and housekeeping supplies                                                          7. $                 932.57
8.    Childcare and children’s education costs                                                8. $                   0.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                  50.00
10.   Personal care products and services                                                   10. $                    0.00
11.   Medical and dental expenses                                                           11. $                  222.10
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                  376.15
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                   33.00
14.   Charitable contributions and religious donations                                      14. $                    0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                   52.55
      15b. Health insurance                                                                15b. $                    0.00
      15c. Vehicle insurance                                                               15c. $                  276.22
      15d. Other insurance. Specify:                                                       15d. $                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Federal and state tax debt payments                                          16. $                  600.00
      Specify: Taxes withheld from unemployment compensation                                     $                  58.00
      Specify: Motor vehicle excise taxes                                                        $                  59.01
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                  198.35
      17b. Car payments for Vehicle 2                                                      17b. $                  316.13
      17c. Other. Specify:                                                                 17c. $                    0.00
      17d. Other. Specify:                                                                 17d. $                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I).         18. $                     0.00
19.   Other payments you make to support others who do not live with you.                        $                    0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                    0.00
      20b. Real estate taxes                                                               20b. $                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                    0.00
21.   Other: Specify:    Bank charges                                                       21. +$                  16.00
      Annual tax return preparation                                                              +$                 41.62
      Pet food, veterinary care, grooming                                                        +$                150.83
      Vehicle registrations, inspections                                                         +$                 11.34
      Vision care, eyeglasses replacement                                                        +$                 16.67
      Non-prescription medications                                                               +$                 35.00
      Vitamins, nutrition products                                                               +$                 87.71
      Haircuts, personal products                                                                +$                100.00
      School lunches, work lunches                                                               +$                165.00
      Christmas, birthday gifts                                                                  +$                100.00
      Postage, printer ink, paper                                                                +$                 30.00
22. Your monthly expenses. Add lines 4 through 21.                                         22.      $           6,371.92
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                     23a. $                  5,601.22
    23b. Copy your monthly expenses from line 22 above.                                   23b. -$                 6,371.92

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                         23c. $                   -770.70




Official Form B 6J                                       Schedule J: Your Expenses                                  page 2
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Debtor 1    William B. Dicksen
Debtor 2    Dolores V. Dicksen                                                                         Case number (if known)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
     For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
     modification to the terms of your mortgage?
       No.
       Yes.
     Explain:




Official Form B 6J                                                  Schedule J: Your Expenses                                                        page 3
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                                        District of Rhode Island
            William B. Dicksen
 In re      Dolores V. Dicksen                                                                               Case No.
                                                                                    Debtor(s)                Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of         24
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date May 14, 2015                                                      Signature   /s/ William B. Dicksen
                                                                                    William B. Dicksen
                                                                                    Debtor


 Date May 14, 2015                                                      Signature   /s/ Dolores V. Dicksen
                                                                                    Dolores V. Dicksen
                                                                                    Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/13)



                                                              United States Bankruptcy Court
                                                                        District of Rhode Island
             William B. Dicksen
 In re       Dolores V. Dicksen                                                                                Case No.
                                                                                  Debtor(s)                    Chapter        7

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                 DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $15,778.50                            2015 YTD: Husband Employment Income
                          $89,098.00                            2014 Tax Return: Both Employment Income
                          $65,802.00                            2013 Tax Return: Both Employment Income
                          $76,120.00                            2013 Tax Return: Both Business Income

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE

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                         AMOUNT                                 SOURCE
                         $5,915.01                              2015 YTD: Wife Unemployment compensation
                         $8,816.00                              2014 Tax Return: Both Capital Gain
                         $44.00                                 2014 Tax Return: Both Taxable refund of state/local income taxes
                         $1.00                                  2014 Tax Return: Both Interest
                         $14.00                                 2013 Tax Return: Both Taxable refund of state/local income taxes
                         $15.00                                 2013: Both Interest

               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
               services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
               aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
               payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
               a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                         DATES OF                                                      AMOUNT STILL
     OF CREDITOR                                                          PAYMENTS                            AMOUNT PAID                  OWING
 Eastern Bank                                                             February 2015, March 2015,            $1,543.44                $19,286.00
 195 Market Street                                                        April 2015.
 Lynn, MA 01901

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                   AMOUNT
                                                                          DATES OF                                  PAID OR
                                                                          PAYMENTS/                               VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                             TRANSFERS                              TRANSFERS                OWING

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                              DATE OF PAYMENT                     AMOUNT PAID                 OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

      None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                        NATURE OF        COURT OR AGENCY                                  STATUS OR
 AND CASE NUMBER                                                        PROCEEDING       AND LOCATION                                     DISPOSITION

      None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)
  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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3

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                         DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                      DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                    FORECLOSURE SALE,      DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                   TRANSFER OR RETURN              PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                   OF COURT                     DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                CASE TITLE & NUMBER               ORDER                    PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                 DATE OF GIFT             VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                            DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                      LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                               BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                           DATE OF PAYMENT,                               AMOUNT OF MONEY
 NAME AND ADDRESS                                                        NAME OF PAYER IF OTHER                       OR DESCRIPTION AND VALUE
    OF PAYEE                                                                 THAN DEBTOR                                    OF PROPERTY



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                                                                            DATE OF PAYMENT,                                 AMOUNT OF MONEY
 NAME AND ADDRESS                                                        NAME OF PAYER IF OTHER                         OR DESCRIPTION AND VALUE
     OF PAYEE                                                                  THAN DEBTOR                                       OF PROPERTY
 Law office of Stephen S. Germani                                        $1500.00 paid on May 11, 2015.                $1125 attorney fee, $335 court
 931 Jefferson Blvd                                                                                                    filing fee, $40 credit report fee.
 Suite 2006
 Warwick, RI 02886
 001 Debtorcc, Inc.                                                      May 11, 2015.                                 $9.95 paid for pre-filing credit
 378 Summit Ave.                                                                                                       counseling course.
 Jersey City, NJ 07306

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                             DATE                            AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                 DATE(S) OF               VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                        TRANSFER(S)              IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                          TYPE OF ACCOUNT, LAST FOUR
                                                                          DIGITS OF ACCOUNT NUMBER,                     AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                           OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                            DATE OF SETOFF                                 AMOUNT OF SETOFF




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               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY               LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                 NAME USED                                     DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                       DOCKET NUMBER                                 STATUS OR DISPOSITION




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               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN               ADDRESS                     NATURE OF BUSINESS               ENDING DATES
 Overflow Machine                  XX-XXXXXXX                         88 Production Rd.           Machine Shop.                    2006 - present.
 LLC                                                                  Walpole, MA 02081

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED
 Henderson, Grealis & Associates PC, CPA                                                                   2006 - present.
 100 Grandview Road, Suite 304
 Braintree, MA 02184

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                               ADDRESS                                                DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                     ADDRESS
 Henderson, Grealis & Associates PC, CPA                                                  100 Grandview Road, Suite 304
                                                                                          Braintree, MA 02184




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   None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                                NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                              RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                       NATURE OF INTEREST                             PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                       TITLE                              OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                          ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                       TITLE                              DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                          DATE AND PURPOSE                               OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                  VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)



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               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                               ******

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date May 14, 2015                                                      Signature   /s/ William B. Dicksen
                                                                                    William B. Dicksen
                                                                                    Debtor


 Date May 14, 2015                                                      Signature   /s/ Dolores V. Dicksen
                                                                                    Dolores V. Dicksen
                                                                                    Joint Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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B8 (Form 8) (12/08)
                                                              United States Bankruptcy Court
                                                                        District of Rhode Island
            William B. Dicksen
 In re      Dolores V. Dicksen                                                                              Case No.
                                                                                    Debtor(s)               Chapter     7


                                 CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)
 Property No. 1

 Creditor's Name:                                                                    Describe Property Securing Debt:
 Citizens Bank                                                                       Two-bedroom house located at 17 Countryside Drive,
                                                                                     Johnston, RI 02919, appraised by the Johnston tax assessor
                                                                                     at $160,200.

 Property will be (check one):
        Surrendered                                                      Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain Debtors wish to short-sell property. (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                               Not claimed as exempt

 Property No. 2

 Creditor's Name:                                                                    Describe Property Securing Debt:
 Eastern Bank                                                                        2012 Kia Rio 5-door hatchback, automatic transmission,
                                                                                     57,000 miles, located at Joint Debtor's residence.

 Property will be (check one):
        Surrendered                                                      Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain Retain and pay. (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                               Not claimed as exempt




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 Property No. 3

 Creditor's Name:                                                                   Describe Property Securing Debt:
 Eastern Bank                                                                       2008 Ford Ranger pickup, automatic transmission, 77,000
                                                                                    miles, located at Debtor's residence.

 Property will be (check one):
        Surrendered                                                      Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain Retain and pay. (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt

 Property No. 4

 Creditor's Name:                                                                   Describe Property Securing Debt:
 PNC Mortgage                                                                       Two-bedroom house located at 17 Countryside Drive,
                                                                                    Johnston, RI 02919, appraised by the Johnston tax assessor
                                                                                    at $160,200.

 Property will be (check one):
        Surrendered                                                      Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain Debtors wish to short-sell property (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt




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PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)
Property No. 1

 Lessor's Name:                                                Describe Leased Property:                     Lease will be Assumed pursuant to 11
 John Disangro                                                 Lease for work premises of Overflow           U.S.C. § 365(p)(2):
                                                               Machine, LLC. Lessor is John                     YES              NO
                                                               Disangro, lessees are Debtor and Ron
                                                               Bower (Debtor's former business
                                                               partner), 88 Production Road, Walpole,
                                                               MA 02081.
 Property No. 2

 Lessor's Name:                                                Describe Leased Property:                     Lease will be Assumed pursuant to 11
 United Financial Group, Inc.                                  Lessor is United Financial Group, Inc.        U.S.C. § 365(p)(2):
                                                               Lessees are Debtor and Ron Bower                 YES              NO
                                                               (Debtor's former business partner), 88
                                                               Production Road, Walpole, MA 02081.
                                                               Lease is for industrial machining
                                                               equipment, Lease No. 103213, balance
                                                               is $32,582.00.


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date May 14, 2015                                                      Signature   /s/ William B. Dicksen
                                                                                    William B. Dicksen
                                                                                    Debtor


 Date May 14, 2015                                                      Signature   /s/ Dolores V. Dicksen
                                                                                    Dolores V. Dicksen
                                                                                    Joint Debtor




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                                                              United States Bankruptcy Court
                                                                        District of Rhode Island
             William B. Dicksen
 In re       Dolores V. Dicksen                                                                               Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,165.00
             Prior to the filing of this statement I have received                                        $                     1,165.00
             Balance Due                                                                                  $                         0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value and exemption planning.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in adversary proceedings, reaffirmation agreements, reaffirmation hearings or
               avoiding judgment liens on real estate, any dischargeability actions, relief from stay actions, or services that may
               be necessary other than stated above.
                                                                           CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      May 14, 2015                                                         /s/ T. Michael Banks
                                                                                  T. Michael Banks 8152
                                                                                  Law office of Stephen S. Germani
                                                                                  931 Jefferson Blvd
                                                                                  Suite 2006
                                                                                  Warwick, RI 02886
                                                                                  401-739-9700 Fax: 401-739-3399
                                                                                  T.MichaelBanks@germanilawoffices.com




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B 201A (Form 201A) (6/14)



                                                     UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF RHODE ISLAND
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total Fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$75 administrative fee: Total Fee $310)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


            Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total Fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total Fee $275)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201A (Form 201A) (6/14)


B 201B (Form 201B) (12/09)
                                                              United States Bankruptcy Court
                                                                        District of Rhode Island
            William B. Dicksen
 In re      Dolores V. Dicksen                                                                              Case No.
                                                                                  Debtor(s)                 Chapter        7

                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                        UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                        Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 William B. Dicksen
 Dolores V. Dicksen                                                                 X /s/ William B. Dicksen                   May 14, 2015
 Printed Name(s) of Debtor(s)                                                         Signature of Debtor                      Date

 Case No. (if known)                                                                X /s/ Dolores V. Dicksen                   May 14, 2015
                                                                                      Signature of Joint Debtor (if any)       Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.



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                                                              United States Bankruptcy Court
                                                                        District of Rhode Island
            William B. Dicksen
 In re      Dolores V. Dicksen                                                                     Case No.
                                                                                   Debtor(s)       Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: May 14, 2015                                                     /s/ William B. Dicksen
                                                                        William B. Dicksen
                                                                        Signature of Debtor

 Date: May 14, 2015                                                     /s/ Dolores V. Dicksen
                                                                        Dolores V. Dicksen
                                                                        Signature of Debtor




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                         Bank Of America
                         4161 Peidmont Pkwy.
                         Attn: Bankruptcy Department
                         Greensboro NC 27410


                         Bank Of America
                         201 N. Tryon St
                         Attn: Bankruptcy Department
                         Charlotte NC 28202


                         Bank of America
                         P.O. Box 15019
                         Attn: Bankruptcy Department
                         Wilmington DE 19886


                         Bank of America
                         P.O. Box 982235
                         Attn: Bankruptcy Department
                         El Paso TX 79998


                         BBVA Compass Bank
                         P.O. Box 10566
                         Attn: Bankruptcy Department
                         Birmingham AL 35296


                         Chase
                         201 N Walnut St # De1-10
                         Attn: Bankruptcy Department
                         Wilmington DE 19801


                         Chase
                         P.O. Box 15298
                         Attn: Bankruptcy Department
                         Wilmington DE 19850


                         Chase Card
                         P.O. Box 15298
                         Attn: Bankruptcy Department
                         Wilmington DE 19850


                         Citibank SD, N.A.
                         P.O. Box 20363
                         Attn: Bankruptcy Department
                         Kansas City MO 64195
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                     Citizens Bank
                     1 Citizens Dr.
                     Attn: Bankruptcy Department
                     Riverside RI 02915


                     Eastern Bank
                     Attn: Collections Dept.
                     195 Market Street
                     Lynn MA 01901


                     Exxon Mobil / Citibank
                     P.O. Box 6497
                     Attn: Bankruptcy Department
                     Sioux Falls SD 57117


                     Exxon Mobil / Citibank
                     P.O. Box 6404
                     Attn: Bankruptcy Department
                     Sioux Falls SD 57117


                     Exxon/Mobil Citibank
                     P.O. Box 20363
                     Attn: Bankruptcy Department
                     Kansas City MO 64195


                     Intech Funding Corp.
                     P.O. Box 750
                     Attn: Bankruptcy Department
                     Albany MN 56307


                     Internal Revenue Service
                     P.O. Box 7346
                     Centralized Insolvency Operatn
                     Philadelphia PA 19101-7346


                     Internal Revenue Service
                     P.O. Box 21126
                     Attn: Bankruptcy Unit
                     Philadelphia PA 19114


                     Internal Revenue Service
                     60 Quaker Lane
                     Attn: Bankruptcy Department
                     Warwick RI 02886
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                     John Disangro
                     35 Production Rd.
                     Attn: Bankruptcy Department
                     Walpole MA 02081


                     Landmark Medical Center
                     196 Cass Ave.
                     Attn: Bankruptcy Department
                     Woonsocket RI 02895


                     Manuel M. Cunanan, DMD Inc.
                     3411 W. Shore Rd.
                     Attn: Bankruptcy Department
                     Warwick RI 02886


                     Massachusetts Dept. of Revenue
                     P.O. Box 9564
                     Attn: Bankruptcy Unit
                     Boston MA 02114-9564


                     PNC Mortgage
                     P.O. Box 8703
                     Attn: Bankruptcy Department
                     Dayton OH 45401


                     PNC Mortgage
                     P.O. Box 8807
                     Attn: Bankruptcy Department
                     Dayton OH 45401


                     RBS Citizens Credit Card
                     443 Jefferson Blvd. MS RJW-135
                     Attn: Bankruptcy Department
                     Warwick RI 02886


                     Ronald Bower
                     18 Neponset Ave.
                     Attn: Bankruptcy Department
                     Hyde Park MA 02136


                     Ronald Bower
                     88 Production Rd.
                     Attn: Bankruptcy Department
                     Walpole MA 02081
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                     Santander Bank
                     P.O. Box 16255
                     Attn: Bankruptcy Department
                     Reading PA 19612


                     Santander Bank
                     P.O. Box 12646
                     Mail Code: 10-421-CN2
                     Reading PA 19612


                     Santander Consumer USA
                     P.O. Box 560284
                     Attn: Bankruptcy Department
                     Dallas TX 75356


                     United Financial Group, Inc.
                     1133 Louisiana Ave., Ste. 200
                     Attn: Bankruptcy Department
                     Maitland FL 32794


                     United Financial Group, Inc.
                     P.O. Box 941310
                     Attn: Bankruptcy Department
                     Maitland FL 32794
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 Fill in this information to identify your case:                                              Check one box only as directed in this form and in
                                                                                              Form 22A-1Supp:
 Debtor 1            William B. Dicksen

 Debtor 2          Dolores V. Dicksen                                                                1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                     2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            District of Rhode Island                            applies will be made under Chapter 7 Means Test
                                                                                                        Calculation (Official Form 22A-2).
 Case number                                                                                         3. The Means Test does not apply now because of
 (if known)                                                                                              qualified military service but it could apply later.

                                                                                                     Check if this is an amended filing
Official Form 22A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                              12/14

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because
you do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from
Presumption of Abuse Under § 707(b)(2) (Official Form 22A-1Supp) with this form.
 Part 1:       Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
           Not married. Fill out Column A, lines 2-11.
           Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
           Married and your spouse is NOT filing with you. You and your spouse are:
              Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              Living separately or are legally separated. fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
              penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
              living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
    case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
    of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
    income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only.
    If you have nothing to report for any line, write $0 in the space.
                                                                                                 Column A                   Column B
                                                                                                 Debtor 1                   Debtor 2 or
                                                                                                                            non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                                    $          3,922.80        $        1,838.64
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                      $               0.00       $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                        0.00       $              0.00
  5. Net income from operating a business, profession, or farm
     Gross receipts (before all deductions)                   $    0.00
       Ordinary and necessary operating expenses                         -$    0.00
       Net monthly income from a business, profession, or farm $               0.00 Copy here -> $               0.00       $              0.00
  6. Net income from rental and other real property
     Gross receipts (before all deductions)                               $    0.00
       Ordinary and necessary operating expenses                         -$    0.00
       Net monthly income from rental or other real property              $    0.00 Copy here -> $               0.00       $              0.00
                                                                                                 $               0.00       $              0.00
  7. Interest, dividends, and royalties




Official Form 22A-1                                       Chapter 7 Statement of Your Current Monthly Income                                             page 1
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 Debtor 1     William B. Dicksen
 Debtor 2     Dolores V. Dicksen                                                                        Case number (if known)



                                                                                                    Column A                      Column B
                                                                                                    Debtor 1                      Debtor 2 or
                                                                                                                                  non-filing spouse
  8. Unemployment compensation                                                                      $                  0.00       $            0.00
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here:
         For you                                             $                 0.00
            For your spouse                                            $             985.84
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                         $                  0.00       $            0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total on line 10c.
            10a. Business sale proceeds                                                             $            1,000.00         $            0.00
            10b.                                                                                    $                  0.00       $            0.00
            10c. Total amounts from separate pages, if any.                                      + $                   0.00       $            0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $     4,922.80          +$          1,838.64     =$       6,761.44

                                                                                                                                                Total current monthly
                                                                                                                                                income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>       12a. $         6,761.44

              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                                  12b. $        81,137.28

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                  RI

       Fill in the number of people in your household.                        3
       Fill in the median family income for your state and size of household.                                                           13.    $      73,145.00

  14. How do the lines compare?
       14a.            Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                       Go to Part 3.
       14b.            Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 22A-2.
                       Go to Part 3 and fill out Form 22A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ William B. Dicksen                                                    X /s/ Dolores V. Dicksen
                   William B. Dicksen                                                      Dolores V. Dicksen
                   Signature of Debtor 1                                                   Signature of Debtor 2
        Date May 14, 2015                                                         Date May 14, 2015
             MM / DD / YYYY                                                            MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 22A-2.
              If you checked line 14b, fill out Form 22A-2 and file it with this form.




Official Form 22A-1                                       Chapter 7 Statement of Your Current Monthly Income                                                  page 2
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 Fill in this information to identify your case:                                                                 Check one box only as directed in lines 40
                                                                                                                 or 42:
 Debtor 1            William B. Dicksen
                                                                                                                     According to the calculations required by this
 Debtor 2          Dolores V. Dicksen                                                                                Statement:
 (Spouse, if filing)
                                                                                                                        1. There is no presumption of abuse.
 United States Bankruptcy Court for the:            District of Rhode Island
                                                                                                                        2. There is a presumption of abuse.
 Case number
 (if known)
                                                                                                                     Check if this is an amended filing
Official Form 22A - 2
Chapter 7 Means Test Calculation                                                                                                                                12/14

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly income (Official Form 22A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

 Part 1:       Calculate Your Adjusted Income

 1.    Copy your total current monthly income.                                 Copy line 11 from Official Form 22A-1 here=>         1.   $              6,761.44

 2.    Did you fill out Column B in Part 1 of Form 22A-1?
           No. Fill in $0 on line 3d.
           Yes. Is your spouse Filing with you?
              No.        Go to line 3.
              Yes.       Fill in $0 on line 3d.

 3.    Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
       household expenses of you or your dependents. Follow these steps:
           No. Fill in $0 on line 3d.
           Yes. Fill in the information below:

               State each purpose for which the income was used                                    Fill in the amount you
               For example, the income is used to pay your spouse's tax debt or to                 are subtracting from
               support other than you or your dependents.                                          your spouse's income

               3a.                                                                             $

               3b.                                                                             $

               3c.                                                                             $

               3d. Total. Add lines 3a, 3b, and 3c                                             $              0.00

                                                                                                                 Copy total here=>...3d.      -$              0.00


 4.    Adjust your current monthly income. Subtract line 3d from line 1.                                                                     $       6,761.44




Official Form 22A-2                                                   Chapter 7 Means Test Calculation                                                      page 1
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 Debtor 1     William B. Dicksen
 Debtor 2     Dolores V. Dicksen                                                                         Case number (if known)



 Part 2:          Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
    to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
    instructions for this form. This information may also be available at the bankruptcy clerk's office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some
    of your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted fro your spouse's
    income in line 3 and do not deduct any operating expenses that you subtracted from in income in lines 5 and 6 of form 22A-1.

    If your expenses differ from month to month, enter the average expense.

    Whenever this part of the from refers to you, it means both you and your spouse if Column B of Form 22A-1 is filled in.


    5.      The number of people used in determining your deductions from income

            Fill in the number of people who could be claimed as exemptions on your federal income tax return,
            plus the number of any additional dependents whom you support. This number may be different from                              3
            the number of people in your household.



    National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



    6.      Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
            Standards, fill in the dollar amount for food, clothing, and other items.                                                         $          1,249.00


    7.      Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
            the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
            people who are 65 or older--because older people have a higher IRS allowance for health care costs. If your actual expenses are
            higher than this IRS amount, you may deduct the additional amount on line 22.



    People who are under 65 years of age

            7a. Out-of-pocket health care allowance per person               $             60

            7b. Number of people who are under 65                            X         3

            7c. Subtotal. Multiply line 7a by line 7b.                       $       180.00         Copy line 7c here=>     $       180.00


    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person               $          144

            7e. Number of people who are 65 or older                         X         0

            7f.   Subtotal. Multiply line 7d by line 7e.                     $         0.00         Copy line 7f here=>     $          0.00


            7g. Total. Add line 7c and line 7f                                                  $       180.00             Copy total here=> 7g. $      180.00




Official Form 22A-2                                                   Chapter 7 Means Test Calculation                                                       page 2
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 Debtor 1     William B. Dicksen
 Debtor 2     Dolores V. Dicksen                                                                     Case number (if known)


    Local Standards         You must use the IRS Local Standards to answer the questions in lines 8-15.

    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:

    Housing and utilities - Insurance and operating expenses
    Housing and utilities - Mortgage or rent expenses

    To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

    To find the chart, go online using the link specified in the separate instructions for this form. This chart may also be available at the bankruptcy
    clerk's office.


    8.      Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5,
            fill in the dollar amount listed for your county for insurance and operating expenses.                                         $                610.00

    9.      Housing and utilities - Mortgage or rent expenses:

            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses.                                               9a. $        1,570.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.

                 To calculate the total average monthly payment, add all amounts that are
                 contractually due to each secured creditor in the 60 months after you file
                 for bankruptcy. Then divide by 60.

                 Name of the creditor                                            Average monthly
                                                                                 payment

                 Citizens Bank                                                   $         200.00
                 PNC Mortgage                                                    $       1,374.95


                                                                                                         Copy line
                                    9b. Total average monthly payment            $       1,574.95        9b here=> -$                1,574.95

            9c. Net mortgage or rent expense.

                                                                                                                                        Copy
                 Subtract line 9b (total average monthly payment) from line 9a (mortgage                                                line 9c
                 or rent expense). If this amount is less than $0, enter $0.                        9c. $                     0.00      here=>    $             0.00


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
        affects the calculation of your monthly expenses, fill in any additional amount you claim.                                                $             0.00

             Explain why:

    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

               0. Go to line 14.

               1. Go to line 12.

               2 or more. Go to line 12.


    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                       $         756.00




Official Form 22A-2                                                   Chapter 7 Means Test Calculation                                                        page 3
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 Debtor 1     William B. Dicksen
 Debtor 2     Dolores V. Dicksen                                                                       Case number (if known)



    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments


     Vehicle 1        Describe Vehicle 1: 2012 Kia Rio 5-door hatchback, automatic transmission,
                                                  57,000 miles, located at Joint Debtor's residence.

    13a. Ownership or leasing costs using IRS Local Standard                                   13a.         $           517.00

    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you filed for
            bankruptcy. Then divide by 60.

                 Name of each creditor for Vehicle 1                             Average monthly
                                                                                 payment

                 Eastern Bank                                                    $         168.60
                                                                                               Copy 13b
                                                                                               here => -$               168.60

    13c. Net Vehicle 1 ownership or lease expense                                                                                Copy net
                                                                                                                                 Vehicle 1
            Subtract line 13b from line 13a. if this amount is less than $0, enter $0.                                           expense
                                                                                                   13c.      $          348.40   here => $         348.40



     Vehicle 2        Describe Vehicle 2: 2008 Ford Ranger pickup, automatic transmission, 77,000
                                                  miles, located at Debtor's residence.

    13d. Ownership or leasing costs using IRS Local Standard                                   13d.         $           517.00

    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                             Average monthly
                                                                                 payment

                 Eastern Bank                                                    $         132.23
                                                                                               Copy 13e
                                                                                               here => -$               132.23

    13f. Net Vehicle 2 ownership or lease expense                                                                                Copy net
                                                                                                                                 Vehicle 2
            Subtract line 13b from line 13a. if this amount is less than $0, enter $0.                                           expense
                                                                                                    13f.     $          384.77   here => $         384.77


    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
        Transportation expense allowance regardless of whether you use public transportation.                                            $             0.00

    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
        not claim more than the IRS Local Standard for Public Transportation.                                                            $             0.00




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    Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                            the following IRS categories.

    16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld
        from your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by
        12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
            Do not include real estate, sales, or use taxes.                                                                              $         956.88

    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
        contributions, union dues, and uniform costs.
            Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.          $             0.00

    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
        filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for
        life insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than
        term.                                                                                                                             $           52.55

    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
        administrative agency, such as spousal or child support payments.
            Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.     $             0.00

    20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or
        for your physically or mentally challenged dependent child if no public education is available for similar services.              $             0.00

    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and
        preschool.
            Do not include payments for any elementary or secondary school education.                                                     $             0.00

    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
        that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
        by a health savings account. Include only the amount that is more than the total entered in line 7.
            Payments for health insurance or health savings accounts should be listed only in line 25.                                    $             0.00

    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication
        services for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or
        business cell phone service, to the extent necessary for your health and welfare or that of your dependents or for the
        production of income, if it is not reimbursed by your employer.
            Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
            expenses, such as those reported on line 5 of Official Form 22A-1, or any amount you previously deducted.                    +$             0.00



    24. Add all of the expenses allowed under the IRS expense allowances.                                                                $     4,537.60
        Add lines 6 through 23.




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    Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                  Note: Do not include any expense allowances listed in lines 6-24.

    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
        your dependents.
            Health insurance                                                 $       403.31
            Disability insurance                                             $         0.00
            Health savings account                                         +$          0.00


            Total                                                            $        403.31     Copy total here=>                  $          403.31


            Do you actually spend this total amount?

                    No. How much do you actually spend?
                    Yes                                                      $

    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member
        of your household or member of your immediate family who is unable to pay for such expenses.                                 $             0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
        safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

            By law, the court must keep the nature of these expenses confidential.                                                   $             0.00
    28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities
        allowance on line 8.

            If you believe that you have home energy costs that are more than the home energy costs included in the
            non-mortgage housing and utilities allowance, then fill in the excess amount of home energy costs.

            You must give your case trustee documentation of your actual expenses, and you must show that the additional
            amount claimed is reasonable and necessary.                                                                              $             0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $156.25* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
        public elementary or secondary school.

            You must give your case trustee documentation of your actual expenses, and you must explain why the amount
            claimed is reasonable and necessary and not already accounted for in lines 6-23.

            * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.     $             0.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
        higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
        than 5% of the food and clothing allowances in the IRS National Standards.

            To find a chart showing the maximum additional allowance, go online using the link specified in the separate
            instructions for this form. This chart may also be available at the bankruptcy clerk's office.

            You must show that the additional amount claimed is reasonable and necessary.                                            $             0.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2)..                                           $             0.00


    32. Add all of the additional expense deductions                                                                                $       403.31
        Add lines 25 through 31.




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    Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
        loans, and other secured debt, fill in lines 33a through 33g.
           To calculate the total average monthly payment, add all amounts that are contractually due to each secured
           creditor in the 60 months after you file for bankruptcy. Then divide by 60.

              Mortgages on your home:                                                                                                                  Average monthly
                                                                                                                                                       payment

    33a.      Copy line 9b here                                                                                                                  =>    $        1,574.95
              Loans on your first two vehicles
    33b.      Copy line 13b here                                                                                                                 =>    $           168.60
    33c.      Copy line 13e here                                                                                                                 =>    $           132.23

    Name of each creditor for other secured debt                     Identify property that secures the debt                    Does payment
                                                                                                                                include taxes or
                                                                                                                                insurance?

                                                                                                                                          No
    33d. -NONE-                                                                                                                           Yes          $

                                                                                                                                          No
    33e.                                                                                                                                  Yes          $

                                                                                                                                          No
    33f.                                                                                                                                  Yes         +$


                                                                                                                                                   Copy
                                                                                                                                                   total
    33g. Total average monthly payment. Add lines 33a through 33f                                                    $           1,875.78          here=>   $     1,875.78

    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?

              No. Go to line 35.
              Yes. State any amount that you must pay to a creditor, in addition to the payments
                   listed in line 33, to keep possession of your property (called the cure amount).
                   Next, divide by 60 and fill in the information below.

     Name of the creditor                                    Identify property that secures the debt                         Total cure                     Monthly cure
                                                                                                                             amount                         amount

     -NONE-                                                                                                              $                       ÷ 60 = $


                                                                                                                                                   Copy
                                                                                                                                                   total
                                                                                                               Total $                    0.00     here=>   $              0.00


    35. Do you owe any priority claims such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
              No.    Go to line 36.
              Yes. Fill in the total amount of all of these priority claims. Do not include current or
                   ongoing priority claims, such as those you listed in line 19.
                      Total amount of all past-due priority claims                                                   $          27,450.47 ÷ 60 = $                     457.51




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    36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
        For more information, go online using the link for Bankruptcy Basics specified in the separate
        instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

              No. Go to line 37.
              Yes. Fill in the following information.
                     Projected monthly plan payment if you were filing under Chapter 13                       $
                     Current multiplier for your district as stated on the list issued by the
                     Administrative Office of the United States Courts (for districts in Alabama
                     and North Carolina) or by the Executive Office for United States Trustees
                     (for all other districts).                                                            X
                                                                                                                                           Copy total
                     Average monthly administrative expense if you were filing under Chapter 13                   $                        here=> $




    37. Add all of the deductions for debt payment.                                                                                                  $     2,333.29
        Add lines 33g through 36.

    Total Deductions from Income

    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                       $          4,537.60
            Copy line 32, All of the additional expense deductions                   $              403.31
            Copy line 37, All of the deductions for debt payment                    +$          2,333.29


            Total deductions                                                         $          7,274.20              Copy total here=>              $        7,274.20


 Part 3:        Determine Whether There is a Presumption of Abuse

    39. Calculate monthly disposable income for 60 months
            39a. Copy line 4, adjusted current monthly income                        $          6,761.44
            39b. Copy line 38,Total deductions                                     -$           7,274.20

            39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                    Copy line
                 Subtract line 39b from line 39a                                     $              -512.76           39c here=>$              -512.76


            For the next 60 months (5 years)                                                                                        x 60

                                                                                                                                 Copy line
            39d. Total. Multiply line 39c by 60                                          39d.   $          -30,765.60            39d here=>      $       -30,765.60


    40. Find out whether there is a presumption of abuse. Check the box that applies:

              The line 39d is less than $7,475*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.

              The line 39d is more than $12,475*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out
              Part 4 if you claim special circumstances. Go to Part 5.

              The line 39d is at least $7,475*, but not more than $12,475*. Go to line 41.

        *Subject to adjustment on 4/01/16, and every 3 years after that for cases filed on or after the date of adjustment.




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    41.       41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out
                   A Summary of Your Assets and Liabilities and Certain Statistical Information
                   Schedules (Official form 6), you may refer to line 5 on that form.         41a. $
                                                                                                                 x      .25
                                                                                                                                Copy
              41b. 25% or your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(1)              $                  here=>   $
                     Multiply line 41a by 0.25.

    42. Determine whether the income you have left over after subtracting all allowed deductions is enough to pay
        25% of your unsecured, nonpriority debt.
        Check the box that applies:

              Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
              Go to Part 5.

              Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a
              presumption of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


 Part 4:        Give Details About Special Circumstances

 43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
     reasonable alternative? 11 U.S.C. § 707(b)(2)(B).


            No. Go to Part 5.

            Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment for
                 each item. You may include expenses you listed in line 25.

                 You must give a detailed explanation of the special circumstances that make the expenses or income adjustments
                 necessary and reasonable. You must also give your case trustee documentation of your actual expenses or income
                 adjustments.



                  Give a detailed explanation of the special circumstances                            Average monthly expense
                                                                                                      or income adjustment

                                                                                                         $

                                                                                                         $

                                                                                                         $

                                                                                                         $


 Part 5:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ William B. Dicksen                                                   X /s/ Dolores V. Dicksen
                 William B. Dicksen                                                        Dolores V. Dicksen
                 Signature of Debtor 1                                                     Signature of Debtor 2
          Date May 14, 2015                                                          Date May 14, 2015
               MM / DD / YYYY                                                             MM / DD / YYYY




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                                                  Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 11/01/2014 to 04/30/2015.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Tiffany and Company
Income by Month:
 6 Months Ago:                                   11/2014                     $4,062.12
 5 Months Ago:                                   12/2014                     $3,696.42
 4 Months Ago:                                   01/2015                     $4,342.42
 3 Months Ago:                                   02/2015                     $3,598.54
 2 Months Ago:                                   03/2015                     $3,923.59
 Last Month:                                     04/2015                     $3,913.70
                                 Average per month:                          $3,922.80




Line 10 - Income from all other sources
Source of Income: Business sale proceeds
Income by Month:
 6 Months Ago:                                   11/2014                     $1,000.00
 5 Months Ago:                                   12/2014                     $1,000.00
 4 Months Ago:                                   01/2015                     $1,000.00
 3 Months Ago:                                   02/2015                     $1,000.00
 2 Months Ago:                                   03/2015                     $1,000.00
 Last Month:                                     04/2015                     $1,000.00
                                 Average per month:                          $1,000.00




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                                          Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 11/01/2014 to 04/30/2015.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Caremark
Income by Month:
 6 Months Ago:                                   11/2014                     $4,307.05
 5 Months Ago:                                   12/2014                     $2,988.80
 4 Months Ago:                                   01/2015                     $2,988.80
 3 Months Ago:                                   02/2015                       $747.20
 2 Months Ago:                                   03/2015                         $0.00
 Last Month:                                     04/2015                         $0.00
                                 Average per month:                          $1,838.64




Line 8 ssa - Unemployment compensation (Non-CMI)
Source of Income: Unemployment compensation
Income by Month:
 6 Months Ago:                                   11/2014                         $0.00
 5 Months Ago:                                   12/2014                         $0.00
 4 Months Ago:                                   01/2015                         $0.00
 3 Months Ago:                                   02/2015                     $1,971.67
 2 Months Ago:                                   03/2015                     $1,971.67
 Last Month:                                     04/2015                     $1,971.67
                                 Average per month:                            $985.84




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